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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

In re: BAIR HUGGER FORCED AIR                          MDL No. 15-2666 (JNE/DTS)
WARMING DEVICES PRODUCTS                               ORDER
LIABILITY LITIGATION

This Document Relates to All Actions

      The Court has received Defendants’ request to appoint Benjamin Hulse and Mary

Young as Defendants’ Co-Lead Counsel. The Court grants the request, appoints them as

Defendants’ Co-Lead Counsel, and amends Defendants’ Leadership Structure in the

Order Regarding MDL Leadership Structure [Docket No. 21] to state:

      Defendants’ Co-Lead Counsel

      Benjamin Hulse                            Mary Young
      Norton Rose Fulbright US LLP              Norton Rose Fulbright US LLP
      60 South Sixth Street, Suite 3100         60 South Sixth Street, Suite 3100
      Minneapolis, Minnesota 55402              Minneapolis, Minnesota 55402
      (612) 321-2800                            (612) 321-2800
      ben.hulse@nortonrosefulbright.com         mary.young@nortonrosefulbright.com

      These appointments are of a personal nature. Accordingly, the above appointees

cannot be substituted by other attorneys, including members of the appointees’ law firm,

except with prior approval of the Court.

      IT IS SO ORDERED.

Dated: December 28, 2022
                                                       s/Joan N. Ericksen
                                                       JOAN N. ERICKSEN
                                                       United States District Judge
